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                                         UNITED STATES DISTRICT COURT
                                         WESTERN DISTRICT OF LOUISIANA

IDA HAWKINS, CHARLOTTE HAWKINS,   *
and CHRISTOPHER HAWKINS, in their *
individual and representative capacities
                                  *
                     Plaintiffs   *
                                  *
VERSUS                            *                                            CIVIL ACTION NO. 3:14-cv-00125
                                  *
CLINICAL PARTNERS-LOUISIANA, PLLC *
              Defendant           *
 ************************************************************************************

                                                          MOTION TO DISMISS

           NOW INTO COURT, through undersigned counsel, come plaintiffs, Ida Hawkins, Charlotte

Hawkins and Christopher Hawkins, in their individual and representative capacities, who aver that

they no longer desire to pursue this matter and therefore respectfully requests an Order dismissing

the above captioned matter without prejudice.

           WHEREFORE, plaintiffs pray that this Court issue an Order dismissing the above captioned

matter, without prejudice, each party to bear their own costs.

                                                                    Respectfully submitted,
               CERTIFICATE OF SERVICE
                                                                     /s/ Ravi K. Sangisetty                .
I hereby certify that a copy of the foregoing pleading was filed
using the Court’s CM/ECF system. All counsel will be notified
                                                                    Ravi K. Sangisetty (#30709)
via the Court’s system. A copy of the foregoing has been served     Sangisetty Law Firm, LLC
on all parties not on the Court’s electronic system by facsimile,
electronic mail, and/or US Mail, and/or US Mail, this 22nd day      935 Gravier St., Suite 835
of July, 2015.                                                      New Orleans, LA 70112
                    /s/ Ravi K. Sangisetty            .             Telephone:     504/662-1016
                  RAVI K. SANGISETTY                                Fax:           504/662-1318
                                                                    Email:         rks@sangisettylaw.com
                                                                    Attorneys for Plaintiffs
